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1    CRIMINAL DEFENSE ASSOCIATES
     ALAN BAUM, ESQ.
2    Cal. State Bar No. 42160
     20700 Ventura Blvd., Suite 301
3    Woodland Hills, California 91364
4    Telephone: (818) 313-6800
5    Attorney for Defendant
     KHOA DANG TRAN TO
6
7
                                   UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA             )                 CASE NO. CR-S-03-103 FCD
                                          )
11                                        )
               Plaintiff,                 )
12                                        )
           vs.                            )                 STIPULATION TO CONTINUE
13                                        )                 TRIAL CONFIRMATION HEARING;
     KHOA DANG TRAN TO                    )                 ORDER
14                                        )
               Defendant.                 )
15                                        )
                                          )
16                                        )
                                          )
17                                        )
                                          )
18   ____________________________________ )
19            The parties, The United States of America, by and through Anne Pings, Assistant United
20   States Attorney and the defendant, by and through his attorney of record, Alan Baum do
21   STIPULATE as follows:
22            1. Although counsel for defendant has attempted to fully prepare for trial in this matter,
23   certain esoteric issues in the area of immigration consequences have been extremely difficult to
24   resolve. Furthermore, the discovery is voluminous in this case and has taken an extraordinary
25   amount of time to organize and study. Additional investigation is necessary to be fully prepared for
26   trial.
27            2. The matter is now set for Trial Confirmation Hearing on May 16, 2005 at 9:30 a.m. with
28   a trial date of June 14, 2005. Counsel for defendant is scheduled to be in the United States District

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1    Court for the Central District of California at 9:00 a.m. on May 16, 2005 for sentencing in the matter
2    of U.S.A. vs Ryley, Case No. 04-01375.
3           3. The parties request the setting of a Status Conference on June 6, 2005, at 9:30 a.m., and
4    that the trial date of June 14, 2005 be vacated. Not only will this give counsel for defendant
5    additional needed time for preparation but will also give the parties additional time to discuss a plea
6    agreement in the case. The parties request that time be tolled from May 16, 2005 to and including
7    June 6, 2005 pursuant to 18 U.S.C § 3161 (h)(8)(B)(iv) and Local Code T4.
8           4. The interests of justice will be served by the Court’s accepting this stipulation and
9    entering an Order to this effect.
10
11   DATED: May 2, 2005                                             ____/s/ Alan Baum_____________
                                                                    Alan Baum, Attorney for Defendant
12
13   DATED:
                                                                    McGregor W.Scott
14                                                                  United States Attorney
15
                                                                    ___/s/ Anne Pings____________
16                                                                  by Anne Pings
                                                                    Assistant United States Attorney
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                                                   ORDER
23
            For the reasons set forth above, this Court finds that the interests of the public in a speedy
24
     trial are outweighed by the interests of justice in permitting the requested time due to the need for
25
     counsel to prepare and for continuity of counsel. Accordingly, the parties request to vacate the Trial
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     Confirmation Hearing set for May 16, 2005 and the trial date of June 14, 2005 is GRANTED, and
27
     the matter is set for Status Conference on June 6, 2005, at 9:30 a.m.
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1          IT IS FURTHER ORDERED that time for trial pursuant to the Speedy Trial Act is
2    EXCLUDED pursuant to Title 18, U.S.C. §3161 (h)(8)(B)(iv) and pursuant to Local Code T4.
3
4    DATED: May 4, 2005                                     /s/ Frank C. Damrell Jr.
                                                            FRANK C. DAMRELL, JR
5                                                           U.S. District Court Judge
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